          Case 2:15-cv-08125-SJO-JC Document 23 Filed 10/20/15 Page 1 of 1 Page ID #:61




                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
Altair Instruments, Inc. et al.,                            CASE NUMBER


                                                                          CV 15-08125-ODW(JCx)
                                             PLAINTIFF(S)
                              v.
Silkn USA LLC et al.,
                                                                 ORDER TO TRANSFER PATENT CASE
                                                                  TO THE PATENT PILOT PROGRAM
                                          DEFENDANT(S).



      IT IS HEREBY ORDERED that the above-entitled case be transferred to the Patent Pilot Program
pursuant to General Order 11-11 for all further proceedings.
                                                      dings.



          October 20, 2015
                 Date                                         United States Distri
                                                                            District
                                                                                riict
                                                                                   ct Judge
                                                                                      Judge
                                                                                         ge / Magistrate Judge
                                                                                         ge




                                     NOTICE TO COUNSEL FROM CLERK


        This case has been reassigned to Judge S. James Otero                                   for all further
proceedings. On all documents subsequently filed in this case, please substitute the initials           SJO
after the case number, so that the case number will read      CV15-08125 SJO (JCx)            . This is very
important because documents are routed to the assigned judge by means of these initials.




cc:   ✔   Previous Judge

CV-128 (04/14)                ORDER TO TRANSFER PATENT CASE TO THE PATENT PILOT PROGRAM
